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4
     Attorney for Defendant
5    THONGCHONE VONGDENG

6
                             IN THE UNITED STATES DISTRICT COURT
7
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,               )   Case No.: 2:15-CR-176-TLN
10                                           )
                          Plaintiff,         )   STIPULATION REGARDING EXCLUDABLE TIME
11                                           )   PERIODS UNDER SPEEDY TRIAL ACT;
     vs.                                     )   FINDINGS AND ORDER
12                                           )
     KHOONSRIVONG et al.,                    )   Date: January 12, 2017
13                                           )   Time: 9:30 a.m.
                          Defendants.        )   Judge: Honorable Troy L. Nunley
14                                           )

15

16         The United States of America through its undersigned counsel, André M.

17   Espinosa, Assistant United States Attorney, together with counsel for

18   defendant Boone B. Khoonsrivong, Matthew C. Bockmon, Esq., counsel for

19   defendant Thongchone Vongdeng, John R. Manning, Esq., counsel for defendant

20   Amber Collins, Erin J. Radekin, Esq., counsel for defendant Somaly Siv,

21   Michael L. Chastaine, Esq., counsel for defendant Meghan Paradis, Michael B.

22   Bigelow, Esq., counsel for defendant Sequoia Valverde, Olaf W. Hedberg, Esq.,

23   and counsel for defendant Jaffrey Brown, Todd D. Leras, Esq., hereby

24   stipulate the following:

25         1.   By previous order, this matter was set for status conference on

26   November 10, 2016.

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1          2.   By this stipulation all defendants now move to continue the status

2    conference until January 12, 2017 at 9:30 a.m., and to exclude time between

3    November 10, 2016 and January 12, 2017 under the Local Code T-4 (to allow

4    defense counsel further time to prepare).

5          3.   The parties agree and stipulate, and request the Court find the

6    following:

7          a. On October 22, 2015, (and on subsequent dates for defendants who

8               were arrested and arraigned afterward), the government produced

9               approximately 47,000 pages of discovery, a disc containing audio

10              files, and a disc containing video files.   The government also made

11              other discovery available for review at its office.   On April 5,

12              2016, the government produced 388 pages of additional discovery.

13         b. Counsel for the defendants need additional time to review the

14              voluminous discovery, conduct more investigation, and interview

15              potential witnesses.

16         c. Counsel for the defendants believe the failure to grant a

17              continuance in this case would deny defense counsel reasonable time

18              necessary for effective preparation, taking into account the

19              exercise of due diligence.

20         d. The government does not object to the continuance.

21         e. Based on the above-stated findings, the ends of justice served by

22              granting the requested continuance outweigh the best interests of

23              the public and the defendants in a speedy trial within the original

24              date prescribed by the Speedy Trial Act.

25         f. For the purpose of computing time under the Speedy Trial Act, 18

26              United States Code Section 3161(h)(7)(A) within which trial must

27              commence, the time period of November 10, 2016, to January 12, 2017,

28              inclusive, is deemed excludable pursuant to 18 United States Code
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1               Section 3161(h)(7)(A) and (B)(iv), corresponding to Local Code T-4

2               because it results from a continuance granted by the Court at the

3               defendants' request on the basis of the Court’s finding that the

4               ends of justice served by taking such action outweigh the best

5               interest of the public and the defendants in a speedy trial.

6          4.   Nothing in this stipulation and order shall preclude a finding that

7    provision of the Speedy Trial Act dictate that additional time periods are

8    excludable from the period within which a trial must commence.

9    IT IS SO STIPULATED.

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11   Dated:   November 3, 2016                  /s/ Matthew C. Bockmon
                                                MATTHEW C. BOCKMON
12                                              Attorney for Defendant
                                                Boone B. Khoonsrivong
13

14   Dated:   October 25, 2016                  /s/ John R. Manning
                                                JOHN R. MANNING
15                                              Attorney for Defendant
                                                Thongchone Vongdeng
16

17   Dated:   October 25, 2016                  /s/ Erin J. Radekin
                                                ERIN J. RADEKIN
18                                              Attorney for Defendant
                                                Amber Collins
19

20   Dated:   November 3, 2016                  /s/ Michael L. Chastaine
                                                MICHAEL L. CHASTAINE
21                                              Attorney for Defendant
                                                Somaly Siv
22

23   Dated:   October 27, 2016                  /s/ Todd D. Leras
                                                TODD D. LERAS
24                                              Attorney for Defendant
                                                Jaffrey Brown
25

26   Dated:   October 25, 2016                  /s/ Michael B. Bigelow
                                                MICHAEL B. BIGELOW
27                                              Attorney for Defendant
                                                Meghan Paradis
28   ///
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2    Dated:   October 25, 2016                    /s/ Olaf W. Hedberg
                                                  OLAF W. HEDBERG
3                                                 Attorney for Defendant
                                                  Sequoia Valverde
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5    Dated:   November 3, 2016                    Phillip A. Talbert
                                                  Acting United States Attorney
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                                                  by: /s/ André M. Espinosa
7                                                 ANDRÉ M. ESPINOSA
                                                  Assistant United States Attorney
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9

10                                        ORDER

11   IT IS SO FOUND AND ORDERED this 7th day of November, 2016.

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15                                                Troy L. Nunley
                                                  United States District Judge
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